







		NO. 12-08-00495-CR


NO. 12-08-00496-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




GERALD JEROME RUSSELL,§
	APPEALS FROM THE 

APPELLANT


V.§
	COUNTY COURT AT LAW NO. 2 OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	These appeals are being dismissed for want of jurisdiction.  After entering pleas of guilty,
Appellant was convicted of resisting arrest or search and criminal trespass.  Sentence was imposed
in open court on December 5, 2007. Appellant did not file a motion for new trial in either case. 
Consequently, Appellant's notices of appeal were due on January&nbsp;4, 2008.  See Tex. R. App. P.
26.2(a) (notice of appeal to be filed within thirty days after day sentence is imposed unless motion
for new trial is timely filed).  However, Appellant filed his notices of appeal on December 23, 2008. 

	Along with the notices of appeal, Appellant filed a motion in each case requesting an
extension of time to file his notice of appeal.  An appellate court may grant such a motion if, within
fifteen days after the deadline for filing the notice of appeal, the party files the notice in the trial
court and files a motion in the appellate court complying with Texas Rule of Appellate Procedure
10.5(b). Tex. R. App. P. 26.3.  To be timely under Rule 26.3, Appellant must have filed his motions
for extension of time on or before January 21, 2008.  Because his motions were filed on
December&nbsp;23, 2008, they are untimely and must be overruled.


	Appellant's December 23, 2008 notices of appeal are untimely, which leaves us without
jurisdiction over the appeals.  See Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App. 1998) (per
curiam); Olivo v. State, 918 S.W.2d 519, 523 (Tex. Crim. App. 1996).  Consequently, Appellant's
motions for extension of time to file his notices of appeal are overruled, and these appeals are
dismissed for want of jurisdiction. 

Opinion delivered January 7, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



























(DO NOT PUBLISH)



	





								


COURT OF APPEALS


TWELFTH COURT OF APPEALS DISTRICT OF TEXAS


JUDGMENT



JANUARY 7, 2009



NO. 12-08-00495-CR


NO. 12-08-00496-CR



GERALD JEROME RUSSELL,


Appellant


V.


THE STATE OF TEXAS,


Appellee







  Appeals from the County Court at Law No. 2


  of Smith County, Texas. (Tr.Ct.Nos. 002-84608-07 &amp; 002-84686-07)








			THESE CAUSES came on to be heard on the transcript of the record; and the
same being inspected, it is the opinion of the Court that this Court is without jurisdiction of the
appeals, and that these appeals should be dismissed.

			It is therefore ORDERED, ADJUDGED and DECREED by the Court that
these appeal be, and the same are, hereby Dismissed for Want of Jurisdiction, and that these
decisions be certified to the court below for observance.

			By per curiam opinion.

			Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.

THE STATE OF TEXAS


M A N D A T E


*********************************************




TO THE COUNTY COURT AT LAW NO. 2 OF SMITH COUNTY, GREETINGS: 


	Before our Court of Appeals for the 12th Court of Appeals District of Texas, on the 7th day
of January, 2008, the cause upon appeal to revise or reverse your judgment between


GERALD JEROME RUSSELL, Appellant



NO. 12-08-00495-CR; Trial Court No. 002-84608-07


NO. 12-08-00496-CR; Trial Court No. 002-84686-07



By per curiam opinion.



THE STATE OF TEXAS, Appellee



was determined; and therein our said Court made its order in these words:


	"THESE CAUSES came on to be heard on the transcript of the record; and the same being
inspected, it is the opinion of the Court that this Court is without jurisdiction of the appeals, and that
these appeals should be dismissed.


	It is therefore ORDERED, ADJUDGED and DECREED by the Court that these appeal be,
and the same are, hereby Dismissed for Want of Jurisdiction, and that these decisions be
certified to the court below for observance."


	WHEREAS, WE COMMAND YOU to observe the order of our said Court of Appeals for
the Twelfth Court of Appeals District of Texas in this behalf, and in all things have it duly recognized,
obeyed, and executed.


	WITNESS, THE HONORABLE JAMES T. WORTHEN, Chief Justice of our Court of
Appeals for the Twelfth Court of Appeals District, with the Seal thereof affixed, at the City of Tyler,
this the ______ day of __________________, 200____.


			CATHY S. LUSK, CLERK



			By:_______________________________

			     Deputy Clerk


